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                    Exhibit A
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                                                                                                             US009395757B2


(12)   United States Patent                                                         ( io)    Patent No.:     US 9,395,757 B2
       Relf                                                                         (45)     Date of Patent:      Jul. 19, 2016

( 54) AUXILIARY SCREEN MOUNTING SYSTEM                                                   6 ,290 ,200 B1          9/2001 Ko
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(71) Applicant: Dovetail Technology Ltd. ,                                                                                           361/679.04
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                Nottinghamshire (GB)                                                     7 ,283,353 Bl * 10/2007 Jordan             G06 F 1/1601
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(72)    Inventor:      Matthew James Relf, Nottinghamshire                               7 ,889 ,481 B2   2/2011 Mickey etal .
                       (GB)                                                              8,317 ,146 B2 * 11/2012 Jung               G06 F 1/1601
                                                                                                                                      248/125.7
(73) Assignee: Dovetail Technology Ltd. ,                                                8,488,306 B2 *          7/2013 Mickey      F16M 11/06
               Nottinghamshire (GB)                                                                                                   248/278.1
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(*)     Notice:        Subject to any disclaimer, the term of this
                       patent is extended or adjusted under 35                                        OTHER PUBLICATIONS
                       U.S.C. 154 (b) by 0 days.
                                                                          British Search Report dated Aug. 5 , 2014, from the corresponding
(21 ) Appl . No . : 14/543,985                                            British Patent Application No . GB1320328.6 filed Nov. 18, 2013 .

(22)    Filed:         Nov. 18, 2014                                      * cited by examiner

(65)                     Prior Publication Data
                                                                          Primary Examiner — Anthony Q Edwards
        US 2015/0138711 Al             May 21, 2015
                                                                          (74) Attorney, Agent, or Firm — Young Basile Hanlon &
(30)              Foreign Application Priority Data                       MacFarlane, PC.

  Nov. 18, 2013         (GB)                                  1320328.6
                                                                          (57)                                    ABSTRACT
(51)  Int. Cl.
      G06F 1/16                    (2006.01)                              An auxiliary screen support system for a computing device
( 52) U.S. Cl.                                                            has mounting members arranged to be disposed on opposing
      CPC             G06F 1/1647 (2013.01) ; G06F 1/1607                 lateral sides of a primary screen of the computing device in
                           (2013.01); G06F 1/1654 (2013.01)               use. A retaining member extends between the mounting
(58)    Field of Classification Search                                    members, and is configured to hold the mounting members
        CPC                       G06F 1/1647; G06F 1/1649                relative to the opposing lateral sides of the primary screen. At
        USPC                                       361/679.04             least one mounting member is configured to bear an auxiliary
        See application file for complete search history.                 screen such that the auxiliary screen is hung relative to the
                                                                          primary screen in use. One or both mounting members may
(56)                     References Cited                                 be formed as a unitary, rigid body and may be configured to
                                                                          hold an auxiliary screen at a fixed obtuse angle relative to a
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                                                                          primary screen of the computing device.
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                                       Figure 1
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       Figure 2




       Figure 3
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      Figure 4


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      Figure 5
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                Figure 6




                Figure 7




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                                          Figure 8            6^




                                          Figure 9
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    AUXILIARY SCREEN MOUNTING SYSTEM                                        The retaining member may be configured to hold the plu -
                                                                         rality of mounting members relative to the opposing lateral
           CROSS REFERENCE TO RELATED                                    sides of the portable computing device. One or both mounting
                   APPLICATION                                           members may be configured to hold an auxiliary screen at a
                                                                    5    fixed angle relative to a primary screen. The auxiliary screen
  The present application claims priority to Great Britain               viewing angle is adjustable by adjusting the orientation/po -
PatentApplicationNo. 1320328.6, filed Nov. 18, 2013, incor-              sition of the primary screen. The weight of the auxiliary
porated herein in its entirety.                                          screen may be borne by the primary screen. Additionally or
                                                                         alternatively, the mounting member(s) may comprise a hinge
                    TECHNICAL FIELD                                 10   for adjusting the angle of the auxiliary screen, for example
                                                                         about a single hinge axis.
   The present invention relates to the field of computer dis -             The plurality of mounting members may have the form of
plays, and more particularly to a support system for mounting            brackets. The brackets may comprise first and second por-
an auxiliary screen to a computing device, such as a portable            tions. The first and second portions may be angled, eg
computing device.                                                   15   obliquely angled, relative to one another. The angle between
                                                                         the first and second portions may be in the range of 120-180
                       BACKGROUND                                        degrees. This angle thereby provides a suitable angle for
                                                                         viewing an auxiliary screen, e.g. relative to a primary screen,
   In the field of computing there exists a general desire for           when it is supported by a mounting member. The first and
the provision of an auxiliary screen to supplement the func -       20   second portions may be of fixed or adjustable relative angular
tionality of a primary screen of a computing device. In par-             orientation.
ticular, the provision of an auxiliary screen facilitates the               The mounting member, e.g. the first portion thereof, may
performance of a plurality of simultaneous tasks, primarily by           comprise a formation for receiving the retaining member. The
allowing different information or user interfaces to be con-             retaining member may or may not be looped around the
currently displayed on each of the primary and auxiliary            25   receiving formation. The receiving member may comprise a
screens.                                                                 slot or other formation for aligning the retaining member
   Conventional desktop computers may be simply provided                 relative to the opposing mounting members.
with a secondary monitor, which may stand on a common                       The first portion may comprise a partial enclosure, for
support surface alongside a primary monitor and which can                example in the form of a hood formation. The partial enclo -
be connected to the computer base via conventional cabling.         30   sure may comprise first, second and third walls and may or
However, such monitors typically comprise large, freestand-              may not be substantially triangular in plan. The first wall may
ing structures, which are unwieldy to transport and require a            be a rear wall . The second wall may be a front wall . The third
desk or table of sufficient size for use. Monitor systems such           wall may extend between an upper edge of the first and
as these are clearly unsuitable for use in conjunction with              second walls, so as to form a hood formation. The first, second
portable computing devices, which are intended to be used in        35   and third walls may be relatively angled so as to define a
a more ad-hoc manner.                                                    partially or substantially enclosed volume. The volume may
   U.S. Pat. No. 7,889, 481 andU.S. Pat. No. 8,488,306 each              be enclosed on at least three sides. The substantially enclosed
disclose secondary computing device display systems. How -               volume may have a shape that substantially corresponds to
ever the systems disclosed by U.S. ’ 481 and U.S. ’ 306 are              the vertex of a portable computing device.
complex clamping mechanisms which are relatively expen-             40      The first and second walls may be obliquely angled, e.g. at
sive, as well as being time consuming to attach. Furthermore,            an acute angle, and may define an internal edge or comer. The
the mechanical clamping mechanisms of U.S. ’ 481 and U.S.                third wall may be oriented in a plane that is substantially
’ 306 and may be prone to degradation or failure with repeated           perpendicular to the first and/or second walls. The walls may
use and/or transportation over time.                                     define a three-dimensional internal comer. The second wall
                                                                    45   may be shorter than the first wall.
                         SUMMARY                                            An internal surface of the first portion may be shaped to
                                                                         engage with a primary screen of the portable computing
   It is therefore an objective of the present invention to pro -        device, for example at its edge or corner. The internal surface
vide an auxiliary screen support system for which one or more            may comprise one or more engagement formation, such as a
of the aforementioned problems is at least partially mitigated.     50   groove, channel or striation to closely fit the primary screen.
   According to a first aspect of the present invention there is         A plurality of striations may be provided, for example as a
provided an auxiliary screen support system for a portable               linear array, e.g. as a series of steps.
computing device, the support system comprising; a plurality                The second, or front, wall may comprise the engagement
of mounting members and a retaining member, wherein the                  formation(s). The second wall may be located intermediate,
retaining member extends between the plurality of mounting          55   e.g. at an interface between, the first and second portions of
members, and at least one mounting member is configured to               the mounting member. The second wall may be angled away
bear an auxiliary screen in use.                                         from the second portion and may extend inwardly from the
   The portable computing device may comprise a primary                  first and second portions. The second wall may comprise a
screen, which may be actuable relative to a base. The primary            substantially curved surface and a stepped surface. The sub -
screen may have a depth that is significantly smaller (e.g. an      60   stantially curved surface may substantially face the second
order of magnitude smaller or more) than its width and/or                portion. The stepped surface may substantially face the first
height dimension. The portable computing device may be a                 wall.
laptop computer or other device of generally clamshell                      The second wall may be adapted to engage a vertex of a
design.                                                                  portable computing device. The spine portion may be adapted
   The plurality of mounting members may be arranged to be          65   to engage the vertices of a variety of portable computing
disposed on opposing lateral sides or edges of the electronic            devices, such that the bracket is range-taking for a plurality of
device (e.g. the primary screen) when in use.                            different primary screens of varying depth dimension. The
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height difference between subsequent steps in the stepped             bers may have a shape that allows the support system to hang
surface may correspond to the thickness of a primary screen           on a primary screen of a portable computing device, e.g. at its
of differing portable computing devices.                              vertices.
   The second portion may take the form of a wing or ear-like            The support system, e.g. the plurality of mounting mem-
formation depending from the first portion. The second por-      5    bers, may be shaped so as to slide on to the primary screen of
tionmay comprise a screen mounting formation in the form of           a portable computing device. The channels formed in the
a recess or slot . The screen receiving mounting formation            plurality of mounting members may allow the support system
may be located at or adjacent the interface between the first         to slide onto the primary screen of a portable computing
and second portions. The screen receiving formation may be            device. The plurality of mounting members may fit onto the
located at an upper corner of the second portion. The screen
                                                                 10   primary screen of a portable computing device with a close fit .
                                                                         According to a further aspect of the present invention, there
receiving slot may be shaped so as to bear an auxiliary screen
                                                                      is provided an auxiliary screen housing for use in conjunction
under the action of friction and/or gravity in use. The screen
                                                                      with the auxiliary screen support system of the first aspect of
receiving slot may be substantially “ U-shaped” in form . The         the present invention.
screen receiving formation may be tapered. The screen            15      The screen housing may be integrally formed with an aux-
receiving formation may be shaped so as to receive a corre-           iliary screen, for example as a screen casing. Alternatively,
sponding projection of an auxiliary screen, or an auxiliary           the screen housing may be a separate component which may
screen case.                                                          be adapted to receive an auxiliary screen, for example as a
   The screen receiving formation may have a profiled edge            removable cover.
for engagement with a corresponding portion of the auxiliary     20      The screen housing may comprise a projection arranged to
screen. The edge may be profiled in section and may be an             releasably engage with a mounting member of the screen
inner edge of a recess. The profiled edge may provide an              support system. The screen housing may comprise a plurality
alignment or keying function and may be curved or tapered in          of projections. The plurality of projections may be located on
section, for example as a double bevel or bullnose edge.              a rear surface of the screen housing. Each of the plurality of
   Each mounting member may be formed of plastic. The first      25   projections may be located towards a comer of the screen
and second portions may be commonly/integrally formed as              housing. There may be a single projection located at a plural -
a single body of material.                                            ity or all corners of the screen housing.
   The plurality of mounting members may have substantially              The, or each, projection may be upstanding from a rear
the same form, but may be reflections of each other. Thus the         surface of the screen housing. The, or each, projection may be
plurality of mounting members may be used to mount a             30   integrally formed with the screen housing. Alternatively, the
                                                                      plurality of projections may be attached to the screen housing,
plurality of auxiliary screens, e.g. on opposing sides of a
                                                                      for example by adhesive, or by using other conventional
primary screen.
                                                                      attachment means.
   Alternatively each of the plurality of mounting members               The, or each projection may take the form of a lug, foot or
may have a different form. A first mounting member may           35   pedestal . The cross -section of each of the plurality of projec -
have substantially the form as described above. A second              tions may not be constant along the length of each of the
mounting member, or a simple hook-like formation.                     plurality of projections. Each of the plurality of projections
   The opposing sides of the computing device against which           may be tapered along its length. The dimensions or shape of
the mounting members are located may be opposing interme-             the projection(s) may correspond substantially to that of the
diate edges of the computing device.                             40   screen receiving formation of the mounting member(s).
   The retaining member may be adaptable such that the                   Each of the plurality of projections may comprise a chan-
support system may be used for a variety of portable comput -         nel or groove. The channel may be located on a peripheral
ing devices. The retaining member may comprise a resilient            surface or edge of the projection. The channel may be con-
material or tensioning mechanism. The retaining member                figured to correspond to the screen receiving formation of the
may be formed of an elastic material. The retaining member       45   mounting member(s). The channel may extend around sub -
may comprise a textile and/or one or more springs. The retain-        stantially the entirety of the peripheral surface of the projec -
ing member may be formed of a rigid material . The retaining          tion. The width of the channel may correspond to the material
member may comprise a sprung loaded rigid connection. The             thickness (i .e. depth) of the screen receiving formation of the
retaining member may comprise an adjustment mechanism,                mounting member(s).
e.g. a length adjustment mechanism, such as a ratchet.           50      An auxiliary screen may be mounted relative to the primary
   The retaining member may be elongate and may extend                screen of a portable computing device by engagement
across substantially the entirety of the width of a primary           between the projection and the mounting member. At least
screen of a computing device during use.                              one of a plurality of projections may be in a different orien-
   The retaining member may actively hold apart the plurality         tation to another of the plurality of projections. A first pro -
of mounting members, e.g. in tension. The tensioning force       55   jection may be perpendicularly oriented relative to a second
may be strong enough to hold the plurality of mounting mem-           projection. Two pairs of such projections may be provided.
bers in position, yet may be weak enough so as not to cause           This may allow the screen housing to be utilised in both
any damage to the primary screen of a computing device in             portrait and landscape orientations and/or on opposing sides
use. The tension in the retaining member may be adjustable.           of a primary screen. Thus an array of fixed projections may
   When in use the auxiliary screen support system may be        60   provide for the different mounting orientations of the auxil -
disposed upon a primary screen of a portable computing                iary screen, without requiring complicated actuable parts.
device. The support system may be removably applied to a                 The screen housing may further comprise one or more
primary screen of a portable computing device. The support            electronic ports. The electronic port (s) may include, but is not
system may be configured and/or shaped to hang on a primary           limited to, any combination of the following inputs: USB;
screen of a portable computing device, e.g. at least partly      65   MicroUSB; DisplayPort; and HDMI. The plurality of elec -
under the action of gravity. The partially or substantially           tronic ports may be adapted to provide power to an auxiliary
enclosed volume of each of the plurality of mounting mem-             screen. Thus there is no need for batteries, or an external
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power source, or the like, for the auxiliary support screen,             which faces the opposing mounting member in use) and
other than the power source for the portable computing                   extends across a portion of the width of the first portion
device.                                                                  towards its closed end.
   The power provided to the screen may be actively or pas -                The slot 20 is substantially rectangular in form, and is
sively controlled. The brightness of the screen may be con-         5    located in an upper region of the first portion 16. The slot 20
trolled, e.g. automatically according to the available power.            extends across a majority of the width of the first portion 16.
The screen housing may comprise corresponding control cir-               The width of the slot 20 substantially corresponds to the width
cuitry, for example as a PCB within the housing.                         of the retaining member 14.
                                                                            The slot 20 comprises a receiving formation 22. The
           DESCRIPTION OF THE DRAWINGS                              10   receiving formation 22 extends across the width of the slot 20
                                                                         at a location spaced from the end of the slot. The receiving
   Practical embodiments of the invention are described in               formation 22 is disposed in a substantially towards the closed
further detail below, with reference to the accompanying                 end of the slot 20 but there is a small gap 24 located between
drawings, of which:                                                      the receiving formation 22 and the closed end of the slot 20.
   FIG. 1 shows a rear three-dimensional view of an auxiliary       15   The dimensions of the gap 24 substantially correspond to the
screen support mounting system according to the present                  width and thickness of the retaining member 14.
invention;                                                                  In this example the receiving formation 22 is substantially
   FIG. 2 shows a three-dimensional view from below of a                 rectangular in form but may otherwise shaped, e.g. as a pin or
mounting member according to the present invention;                      column, for holding the retaining member 14 relative to the
   FIG. 3 shows a three-dimensional front view of a mounting        20   mounting member in use.
member according to the present invention;                                  The second portion 18 is substantially rectangular in form,
   FIG. 4 shows a three-dimensional rear view of a mounting              yet has substantially rounded vertices. The second portion 18
member according to the present invention;                               has substantially the same length and width dimensions as the
   FIG. 5 shows a plan view from below of a mounting mem-                first portion 20. The second portion 18 comprises a screen
ber according to the present invention;                             25   receiving formation in the shape of a recess or slot 26. The
   FIG. 6 shows a three dimensional view of a rear surface of            screen receiving slot 26 is substantially rectangular in form,
a screen housing according to the present invention;                     yet has substantially curved vertices. The screen receiving
   FIG. 7 shows a plan view of the rear of a screen housing              slot 26 is tapered along its length. The screen receiving slot 26
according to the present invention;                                      is dimensioned so as to receive a corresponding projection of
   FIG. 8 shows a rear three-dimensional view of an auxiliary       30   a screen housing as will be described below,
screen support mounting system according to the present                     The screen receiving slot 26 is located at an upper vertex of
invention in use with a portable computing device; and                   the second portion 18, and is disposed next to the interface
   FIG. 9 shows a front view of an auxiliary support system in           between the first 16 and second 18 portions. The height of the
an alternative usage configuration.                                      screen receiving slot 26 extends less than half, typically
                                                                    35   approximately a quarter or less of the height of the second
           DETAILED DESCRIPTION OF THE                                   portion 18. The width of the screen receiving slot 26 extends
                  EMBODIMENTS                                            for less than half, e.g. no more than a third, of the width of the
                                                                         second portion 18.
   With reference to FIG.1, there is shown an auxiliary screen              The third portion 17 is substantially triangular in form, yet
mounting system, generally designated 10, according to the          40   has substantially rounded vertices. The third portion 17 is
present invention. The auxiliary screen mounting system 10               integrally formed with the first portion 16. The third portion
comprises a plurality of mounting members 12 and a retain-               17 is disposed substantially perpendicularly to the first por-
ing member 14. The mounting members 12 are spaced apart                  tion 16, and extends from an upper edge of the first portion 16
and the retaining member 14 spans the gap there-between so               towards the interior of the angle formed between the first 16
as to couple the mounting members together.                         45   and second 18 portions. The third portion thus defines a
   With reference to FIGS. 2 to 5, there is shown a mounting             ceiling or hood formation over the internal space formed
member 12 according to an example of the present invention.              between the first 16 and fourth 19 portions.
The mounting member 12 comprises first 16 and second 18                     The fourth portion 19 is substantially rectangular in form,
portions. The mounting member further comprises a third                  yet is curved along its width. The fourth portion 19 is inte-
“ hood-like” portion 17, and a fourth “ spine-like” portion 19.     50   grally formed with each of the first 16, second 18, and third 17
The mounting member is made of a plastic material, typically             portions and extends from the interface between the first 16
by a moulding process or an additive manufacturing process               and second 18 portions towards the interior of the angle
(e.g. 3D printing) such that all of the portions of the mounting         formed between the first 16 and second 18 portions. The
member comprise a single body of material bearing the                    fourth portion 19 is disposed substantially perpendicularly to
desired shape. Any of the first to fourth portions may be           55   thethirdportionl 7, andanupperedgeofthefourthportionl9
referred to as walls.                                                    adjoins a corresponding edge of the third portion 13. Thus the
   The first 16 and second 18 portions are integrally formed,            first 16, third 17, and fourth 19, portions bound a partially
and are obliquely angled, typically at an obtuse angle relative          enclosed volume 28 in the manner of a bracket. The partially
to one another. The internal angle there-between may be                  enclosed volume 28 has substantially the form of a triangular
greater than 135° or 140° and in this example is approxi -          60   prism, and is thus able to fit over the vertex of a primary screen
mately 160°. The angle defines an orientation of an auxiliary            of a portable computing device.
screen relative to a primary screen in use as will be described             The fourth portion 19 comprises an outer surface 30 and an
in further detail below.                                                 inner surface 32. The outer surface 30 is smooth and curved in
   The first portion 16 is substantially rectangular in plan, yet        nature. The outer surface 30 is substantially perpendicular to
has substantially rounded vertices. The first portion com-          65   the second portion 18 at its inner end. The shape of the outer
prises a slot 20 for receiving the retaining member 14. The              surface helps with alignment of an auxiliary screen in use.
slot opens at a lateral edge of the first portion (i.e. an edge          The inner surface 32 comprises a plurality of undulations or
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ridges 34. The ridges are straight edged (i.e. angular) and, in           a portrait or a landscape view, when the screen housing 40 is
this example, generally triangular in form. The inner surface             received by the auxiliary screen mounting system 10 on either
32 thus resembles a series of steps when viewed in the orien-             side thereof .
tation shown in FIG. 5. Each of the “ steps” defines a channel               The plurality of electronic inlet ports 43 may be any, or any
of a different width (i.e. having a different spacing from the       5    combination of, USB, MicroUSB, DisplayPort, HDMI ,
opposing inner surface of the first portion 16. Thus, when in             ports, or the like. The plurality of ports 43 are provided in an
use the mounting member 12 has the potential to fit over to a             electronics housing portion 49 of the housing 40. The elec -
wide variety of primary screens of portable computing                     tronics housing portion 49 comprises the circuitry for man-
devices, where the primary screens are of different widths.               aging the power supplied to the auxiliary screen. A cable (not
   The two mounting members 12 shown in FIG. 1 are mirror            10
                                                                          shown) can be connected between a port 43 on the housing
images of each other in a vertical plane.
                                                                          and a corresponding port on the electronic device to which the
   The retaining member 14 is substantially rectangular in
form, and is elongate. The retaining member 14 comprises
                                                                          auxiliary screen is to be mounted in use. The circuitry may
loops, which are disposed at opposing ends of the retaining               comprise a controller and may automatically adjust the
member 14. The retaining member 14 in this example is made           15
                                                                          brightness of the auxiliary screen based upon the available
from a flexible and/or elastic material , e.g. a textile material.        power supplied by ports 43.
The loops in the retaining member pass about the respective                  By varying the connection of the plurality of electronic
receiving formations 22 in the mounting members such that                 inlet ports 43 to a portable computing device, a user can vary
the opposing ends of the retaining member 14 are secured to               the amount of power supplied to an auxiliary screen, and
the spaced mounting members. The retaining member acts as            20   thereby adjust the brightness of the auxiliary screen. For
a tether or strap between the mounting members. Thus the                  example, if a single USB connection does not supply suffi-
mounting members are loosely held by the retaining member                 cient power to achieve maximum brightness of the auxiliary
in a manner that allows relative movement between the                     screen, a further connection may be established using a sec -
mounting members prior to positioning on a screen in use.                 ond cable connection. However it is envisaged in various
   One or more buckles may be provided to allow adjustment           25   examples of the invention that a single cable connection will
of the loop(s) and/or the length of the retaining member as               facilitate the maximum power requirements of the auxiliary
necessary.                                                                screen.
   With reference to FIGS. 6 and 7, there is shown a screen                  It is envisaged that an auxiliary screen that is as simple and
housing, generally designated 40, according to the present                cost-effective as possible may be beneficial to the end user
invention. The screen housing 40 is substantially rectangular        30   and accordingly that a simple brightness adjustment algo -
in form, and comprises a plurality of upstanding projections              rithm (based on the available power) may be implemented.
42, and a plurality of electronic inlet ports 43. The screen              However in other examples of the invention the screen hous -
housing in this example forms a backing or casing for the                 ing 40 may further comprises one or more control buttons ,
display screen and may thus comprise an integral unit there-              The button(s) may be used to actively control the brightness
with. In other examples, the screen housing could be releas -        35   of the auxiliary screen. Additionally or alternatively the con-
ably attached to a screen unit , for example as a cover member.           troller may control the screen brightness in accidence with
   The plurality of upstanding projections 42 are integrally              ambient light levels and/or the brightness of the primary
formed with the screen housing 40, and are disposed such that             screen.
there is a single projection 42 at each vertex of the screen                 With reference to FIG. 8, there is shown an auxiliary screen
housing 40.                                                          40   mounting system 10 and screen housing 40 according to the
   Each of the plurality of projections 42 are substantially              present invention, in use with a portable computing device 60.
rectangular in form, yet have rounded vertices. Each of the               The portable computing device 60 shown here is a laptop, yet
plurality of projections 42 are tapered towards one end. Each             use with other portable computing devices is also envisaged.
of the plurality of projections 42 comprises a peripheral sur-            For example, the mounting system could be applied to a tablet
face 44 . Each peripheral surface 44 comprises a channel 46.         45   computer, particularly if the tablet could be adequately sup -
Each channel 46 is linear in form, and each channel 46                    ported to a support surface in use, e.g. by a stand or similar
extends around substantially the entirety of the peripheral               support. Whilst the mounting system has been tailored for
surface 44, although in other embodiments the channel may                 portable computing devices, it could also be used for desktop
extend along only a pair opposing sides thereof. The width of             PCs, provided the primary display screen has a depth dimen-
each channel 46 is substantially the same as the depth of the        50   sions suitable to accommodate the hanging brackets of the
screen receiving slot 26. Thus at least two of the plurality of           invention,
projections 42 of the screen housing 40 is capable of being                  The portable computing device 60 comprises an upstand-
received by each screen receiving slot 26 of the auxiliary                ing, self-supporting, primary screen 62. When in use, the
screen mounting system 10. This arrangement helps to align                plurality of mounting members 12 are pulled apart by a user,
the projection 42 in the slot 26 in a predetermined orientation.     55   such that the distance between the plurality of mounting
In one example of the invention, the projections may be left or           members 12 is sufficient to accommodate a major dimension
right -handed such that only two of the projections can be                (e.g. the width) of the primary screen 62 of the portable
received in each of the left or right-hand slots 26.                      computing device 60.
   The screen housing 40 comprises opposing first (e.g.                      The partially enclosed volumes 28 of each of the plurality
upper) 48 and a second (e.g. lower) 50 edges. The plurality of       60   of mounting members 12 are located over the upper vertices
projections 42 disposed upon the first edge 48 of the screen              of the primary screen 62, and the mounting members 12 are
housing 40 are oriented substantially parallel to the edges 48,           positioned such that the primary screen 62 is received within
50, whereas the plurality of projections 42 disposed upon the             a channel defined by the plurality of triangular projections 34
second edge 50 of the screen housing 40 are oriented substan-             of the inner surface 32 of the fourth portion 19. The stepped
tially perpendicularly thereto. This arrangement of pairs of         65   channels thus define a best fit for the primary screen, whereby
projections in perpendicular orientations is particularly ben-            the mounting members can slide onto a border of the primary
eficial in that the screen housing 40 may be oriented in either           screen. The primary screen 62 is received within a channel
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with a close fit, but without any latching or engagement action          of freedom, e.g. for rotation about a pivot axis that may be
such that the mounting system is mechanically simple and                 aligned with the interface between the first and second por-
cost effective.                                                          tions. Thus, the auxiliary screen may be fixed for adjustment
   The opposing mounting members 12 are held laterally                   with the primary screen about a horizontal axis but may be
upon the primary screen 62 by the tension provided by the           5    adjustable relative to the primary screen about an upright
retaining member 14, and the auxiliary screen mounting sys -             screen axis.
tem 10 is held vertically upon the primary screen 62 by
abutment between the upper wall 17 of mounting members 12
                                                                            What is claimed is:
with the upper edge of primary screen 62.
                                                                            1. An auxiliary screen support system for a computing
   The tension in this embodiment is provided by the elastic -      10
ity of the retaining member 14, i.e. wherein the undeformed              device, the support system comprising:
length of the retaining member is shorter than primary screen               a plurality of mounting members arranged to be disposed
width such that the retaining member is elongated/tensioned                     on opposing lateral sides of the computing device in use;
by donning the mounting members on the opposing sides of                        and
the screen. In other examples of the invention, the retaining       15      a retaining member, wherein:
member may comprise a buckle or other tightening arrange-                       the retaining member extends between the plurality of
ment to allow adjustment of the length of the retaining mem-                       mounting members, and is configured to hold the
ber to hold the mounting members against opposing portions                         plurality of mounting members relative to the oppos -
of the primary screen. In one example, the retaining member                        ing lateral sides of the computing device,
could comprise two opposing members, e.g. arm members,              20          at least one mounting member is configured to bear an
which could be rigid, and a length adjustment mechanism                            auxiliary screen such that the auxiliary screen is hung
therebetween, such as a rack-and-pinion type arrangement, a                        relative to the computing device in use, and
spring connection in the force path between the two arms, or                    the retaining member is length adjustable to hold the
similar. In any examples, it is desirable simply that the retain-                  plurality of mounting members relative to the oppos -
ing member is adjustable in length and/or tension between the       25             ing lateral sides of the portable computing device by
mounting members. This can allow the system to be applied                          resisting separation thereof.
to a wide variety of screen dimensions. However in other                    2. The system according to claim 1, wherein at least one of
embodiments it is possible that the retaining member could be
                                                                         the plurality of mounting members is configured to located
of a rigid, fixed construction in order to be tailored to a
                                                                         about a comer of the electronic device.
particular size (e.g. a particular model) of primary screen. In     30
                                                                            3. The system according to claim 1 wherein one or both
such an arrangement , the mounting members and the retain-
ing member could be integrally formed, e.g. as a hood or                 mounting members are configured to hold an auxiliary screen
partial jacket about the primary screen.                                 at a predetermined, fixed obtuse angle relative to a primary
   A projection 42 of a screen housing 40 is located within the          screen of the portable computing device.
screen receiving slot 26 of the second portion 18 of the            35      4 . The system according to claim 1 wherein one or both
mounting member 12, such that the screen housing 40 is held              mounting members take the form of a bracket having a first
in a desired orientation by the engagement of the screen                 portion for engagement with the portable computing device
housing 40 with the auxiliary screen support system 10. The              and a second portion depending from the first portion for
plurality of electronic inlet ports 43 are then utilised to con-         bearing the auxiliary screen.
nect the screen housing 40 to the portable computing device         40      5. The system according to claim 4, wherein the bracket
60, thereby supplying both data and power to the screen held             comprises a unitary body of material shaped to define the first
within the screen housing 40, and allowing the user to utilise           and second portions.
an auxiliary screen for the portable computing device 60.                   6. The system according to claim 4, wherein the first por-
   It is notable that the engagement between the projections             tion is shaped to define a partial enclosure which is enclosed
42 and the receiving formation 26 on the mounting member is         45   on three sides thereof ,
of fixed orientation with respect to the primary screen. Thus               7. The system according to claim 6, wherein the first por-
the adjustment/tilting of the orientation of the primary screen          tion comprises a rear wall , a front wall and an upper wall, the
will cause a corresponding adjustment to the auxiliary                   upper wall being oriented in a plane that is substantially
screens. A user may thus mount one or two auxiliary screens              perpendicular to the front and/or rear walls.
to the primary screen in either portrait or landscape orienta -     50      8. The system according to claim 6, wherein a front wall
tions as shown in FIG. 9, and may thus extend the available              and a rear wall are obliquely angled and at least one of said
display area of the primary screen simply but effectively to             walls comprises a plurality of engagement formation on its
suit desirous display requirements.                                      internal side so as to define a series of channels offering
   In any example of the invention, the slot/recess on the               different fitment depths.
mounting members and the projection on the auxiliary screen         55      9. The system according to claim 6, wherein the front or
could be swapped whilst still achieving the desired function             rear wall has a curved outer surface, which slopes away from
of the invention. For example the mounting member could                  the second portion.
have an upstanding projection of fixed orientation and the                  10. The system according to claim 4, wherein the second
screen could bear a number of recesses (e.g. at different                portion takes the form of an ear-like formation depending
relative orientations) to allow the screen to be engaged with       60   from the first portion ,
the mounting member projection.                                             11. The system according to claim 4, wherein the second
   In further developments of the concept, it is envisaged that          portion comprises a screen mounting formation in the form of
the single-bodied mounting member could be formed of two                 a recess or projection for engagement with a corresponding
discrete, rather than unitary, portions, wherein the first and           projection or recess on an auxiliary screen.
second portions could be connected by a simple hinge, for           65      12. The system according to claim 11, wherein the recess
example at the interface between the first and second portions           and projection have a profiled edge for maintaining a fixed
described above. The simple hinge may have a single degree               relative orientation of the projection in the recess.
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                             11                                       12
   13. The system according to claim 1 wherein each mount -
ing member comprises a pillar formation for receiving the
retaining member and the retaining member is looped around
the receiving formation.
   14. The system according to claim 1 wherein the retaining     5
member comprises an elastic and/or textile material .
   15. The system according to claim 1, wherein the mounting
members are loosely and/or releasably mounted on a primary
screen portion of the portable computing device in use.
   16. The system according to claim 1, further comprising an    10
auxiliary screen having a screen housing having an engage-
ment formation for mounting the auxiliary screen on the
mounting member with a fixed angular orientation.
   17. The system according to claim 16 wherein the housing
comprises a plurality of engagement formations at different      15
angular orientations.
   18. The system according to claim 16, wherein the engage-
ment formation comprises a pedestal on the rear surface of the
auxiliary screen housing.
   19. The system according to claim 16, wherein the engage-     20
ment formation is tapered.
